        Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 1 of 37




Vincent Pharr
Re~. No. 72602-019
Fed era I Correctional Institution
P:0. Box 800
Herlong, Cali_fornia 96113




                  UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION




VINCENT PHARR,                                Case No. 1:19-cr-346-MHC-JSA
           Petitioner,



   V.

UNIT~D STATES OF AMERICA,
            Repondent.




                MEMORANDUM IN SUPPORT OF MOTION TO VACATE
                    SET ASIDE OR CORRECT SENTENCE         '
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 2 of 37




    I.    JURISDICTION

          This Court has jurisdiction to entertain this m.otion pursuant

    to Title 28, United States Code, section 2255, which reads, in part,

    that "[a] prisoner in custody under sentence of a court established

    by Act of Congress claiming the right to be released upon the

    grounds that sJntence was imposed in violation of the Constitution

    or laws of the United States ... may move the court which imposed

    sentence to vacate, set aside or correct sentence." 28 U.$.C. 2255.

          Pharr asserts that ,his Sixth Amendment right to counsel was

    violated.

    II.   BACKGROUND

          On August 13, 2019, Pharr was arrested incident to the dis-

    covery of contraband in a Ford Raptor truck he was traveling fn

    as a passenger. Later that same day, law enforcement officials

    executed a search warrant on an apartment that Pharr had been

    seen exiting prior to the vehicle stop. Various items were re-

    covered from the apartment, including firearms, cellphones, THC

    vape cartridges, and vacuum sealed bags containing 18 pounds

    of marijuana.

           On September 11, 2019, a federal grand jury in the

    Northern District of Georgia returned    athree-count indictment
    against Pharr. Count 1 alleged that Pharr possessed with intent to

    distribute less than 50 grams of marijuana, in violation of Title 21,

    United States Code, section 841 (a)(1) and 841 (b)(1 )(0). Count 2

                                       2.'
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 3 of 37




   alleged that possessed a firearm in furtherance of a drug trafficking

   crime, in violation of Title 18, United States Code, section 924(c).

   Count 3 alleged that Pharr possessed a firearm after Pharr had

   previously been convicted of a felony offense, in violation of Title

   18, United States Code, section 922(g).

           Pharr subsequently pleaded guilty to Counts 1 and 2 of the

   Indictment.

           On May 5, 2020, the district court sentenced Pharr to 21

   months of imprisonment as to Count 1 and 60 months of imprison-

   ment as to Count 2, to run consec'utively to the sentence imposed

   in Count 1 -- for a total term of imprisonment of 81 months, all to

   be followed. by 5 years of supervised release.

           Pharr did not file a direct appeal.

    Ill.   STANDARD OF REVIEW

           The Sixth Amendment provides that "[i]n all criminal pro-

   secutions, the accused shall enjoy the right ... to have the Assist-

    ance of Counsel for his defen[s]e." U.S. Const. amend. VI.

           The United States Supreme Court has held that the Sixth

   Amendment guarantees a defendant not only a right to counsel, but

    effective assistance of counsel. See e.g. McMann v. Richardson,

    397 U.S. 759 (1970). This right extends to all critical phases of the

    proceedings, such as trial and sentencing. Rothgery v. Gillespie

   · County, Tex., 554 U.S. 191 (2008).

           Ineffective assistance of counsel claims are cognizable in a

                                        .3.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 4 of 37




 section 2255 setting because they are of constitutional dimension.

 See Kimmelman v. Morrison, 477 U.S. 365 (1986) and Strickland v.

 Washfngton, 466 U.S. 668 (1984).

       To prevail on a claim of ineffective assistance of counsel, a

 "defendant must show that (1) his counsel's representation fell

 below an objective standard of reasonableness, and (2) there is a

 reasonable probability that, but for counsel's unprofessional errors,

 the result of the proceeding would have been different." Kimmelman,

 477 U.S. at 375.

       The "reasonableness of counsel's challenged conduct'' must be

 judged "on the facts of the particular case, viewed as of the time

 of counsel's conduct." Lockhart v. Fretwell, 506 U.S. 364, 371 (1993}

 (citing Strickland, 466 U.S. at 690). In the course of the latter

 portion of t~is inquiry, the Court must consider not merely whether

 the outcom~ of the defendant's case would have been different, but

 also whether counsel's deficient performance caused the outcome to

 be unreliable or the proceeding tb be· fundamentally unfair. See

 Lockhart, 506 U.S. at 368-73. "Unreliability or unfairness does not
   '                                                   I
 result if the ineffectiveness of counsel does not deprive the defend-

 ant of any substantive or procedural right to which the law entitles

 him." Lockhart, 506 U.S. at 372.

       The familiar two-part test of Strickland has been applied by

 the Supreme Court and the Circuit Courts in a wide variety of

 contextual challenges to the effectiveness of counsel's performance.

                                     4.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 5 of 37




    See e.g. Padilla v. Kentucky, 559 U.S. 356 (201 0)(deportation

    consequences of a conviction) and Missouri v. Frye, 566 U.S. 134

    (2012){defense counsel's advice with regards to whether to accept

    a plea offer).

          With regard to the performance prong of the Strickland test,

    "if a defendant is represented by counsel and pleas guilty upon·

    advice of counsel, the voluntariness of the plea depends on whether

    counsel's advice was.within the range of competence demanded of

    attorneys in criminal cases," McMann, 397 U.S. at 761. Once a

    defendant has satisfied the performance prong, he must tlien

    demonstrate prejudice. "[T]o prove prejudice, [defendant] must

    show that there is a .reasonable probability that, but for counsel's

    unprofessional errors, the result of the proceeding would have been

    different.".ld. at 761-62.

           As is relevant in this particular case, claims of ineffective

    assistance of counsel during the sentencing phase of the criminal

    proceeding, "prejudice is established if the movant demonstrates

    that his sentence was increased by the deficient performance of

    his attorney." Spencer v. Booker, 254 F. App'x 520, 525 (6th Cir.

    2007). Or "in the converse, that his sentence would have been less

    harsh." Dela Sota-Rivera v. Jones, 2018 U.S. Dist. Lexis 114457,

    2018 WL 9649832, at *24 (S.D. Fla. Jul. 9, 2021 ). See also

    Glover v . United States, 531 U.S. 198, 203 (2001 )("[A]ny amount

    of actual jail time has Sixth Amendment significance").

                                     5.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 6 of 37




            Finally, in a ruling on a motion under section 2255, the

    district court is required to hold an evide·ntiary hearing "[u]nless

    the motbn and the files· ahd records of the case conclusively show

    that the pri:mner is entitled to no relief." 28 U.S.C: 2255(b). See

    also McQuiggin v. Perkins, 569 U.S. 383 (2013).

    IV.     DISCUSSION

            A. Equitable Tolling Due to Extraordinary Circumstances

            Prior to discussing his ineffective assistance of counsel

    claim, Pharr asks that this Court find that his motion is timely·

    under the principle of equitable tolling.

            "The statute of limitation can be equitably tolled where a

    petitioner 'untimely files becaus'e of extraordinary circumstances

    that are both beyond his control and unavoidable even with

    diligence."' Outler v. United States, 485 F.3d 1273, 1280 (11th

    Cir. 2007)(internal citation omitted).

            In support of his request for equitable tolling, Pharr avers

    as follows:

            Pharr arrived at USP Atlanta (holdover) on or about Feb-

    ruary 26, 2020. Two weeks prior to his scheduled May 5, 2020

    sentencing hearing, Pharr was placed in quarantine in the Special

    Housing Unit (SHU) at the facility. Immediately following his court

    appearance, Pharr.was placed back into quarantine in SHU, where

    he remained until he was transferred on or. about October 16,

    2020.

                                         6.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 7 of 37




         Upon arriving at the Federal Transfer Center (FTC) in

   Oklahoma City, Oklahoma, Pharr was placed in quarantine for 28

   days. From FTC Oklahoma City, he was transf~rred to USP Victor-

   ville (holdover), California, where he was quarantined for 3 days

   before embarking on a day-long bus journey to FCI Herlong in

   Northern California. He arrived at FCI Herlong on or· about

   November 16, _2020 -- arriving just as a full COVID-19 outbreak

   occurred at the facility. See Exhibit A, Warden's Lockdown Memo.

   Pharr and other new arrivals were placed in quarantine in the

   Reno housing unit, where he was quarantined for another 28 days.

   It should be noted that during the lockdown, Pharr was locked in

   his cell for 24-hours a day and was denied access to commissary,

   law library, recreation, and use of the telephones and emails.

   After his 28 day stay in the Reno housing unit, Pharr was trans-      ,..

   ferred to the Sierra-A housing unit, which still remained ori 24-

   hour lockdown_, but the inmates in the unit had all tested negative

   for COVIDa.19.

         On or about March 1, 2021, the facility began a "modified"

   lockdown, in which inmates could spend half hour outside of their

   assigned cells; to shower and use the telephone and emails. How-

   ever, inmates were denied access to the law library. About a

   month later, the hours outside the cell were increased to two

   hours each day along with access to outside recreation for one

   hour per week. Limited access to the law library was given to

                                   7.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 8 of 37




     some inmates who had verifiable "open cases." He did not qualify

     for this privilege because his criminal case had been closed and

      he did not have any motions pending in either the Eleventh Circuit

      or.the Supreme Court.

            On or about May 1, 2021, inmates were allowed outside

      of their cells from 6:30 a.m. to 8:30 p.m., along with outside

      recreation access three times per week. Limited work oppor-

      tunities became available in some areas such as Laundry, Food

      Service, Commissary, and Recreation. The law library still remain-

      ed open to only a small number of inmates who had open cases,

      about 20-25 inmates out of 1156 inmates. On or about June 1,

      2021, another inmate housed in Sierra-A housing unit began

      working in the law library as a clerk and who recently started .

      assisting other inmates, including Pharr, With their legal cases.

            Based on the above facts, Pharr's motion should be deemed

      timely due to extraordin_ary circumstances beyond his control.

      Outler, 485 F.3d at 1280.

            B. Ineffective Assistance of Counsel During Sentencing
               Phase of Criminal Proceeding


            As noted in the Background section, supra, Pharr was

      charged with three counts. Pursuant to a plea agreement with the

      Government, he ultimately pied guilty to two of those counts;

                                        ,
      possession with intent to distribute less than 50 kilograms of mari-
                                                            .




      juana (Count 1:) and possession of a firearm in furtherance of a

                                       8.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 9 of 37




     drug trafficking offense (Count 2). By way of the same plea

     agreement, the parties agreed that 7.7 kilograms of marijuana

     were foreseeable to Pharr.

           After accepting Pharr's guilty plea, the Court ordered the

     United States Probation Office (USPO) to develop a presentence

     report (PSR). Despite the drug amount agreed to by the parties in

     the plea agreement and the indictment alleging "less than 50 kilo-

     grams of marijuana," the USPO determined that Pharr was respon-

     sible for between 100 and 400 kilograms of marijuana. The base

     offense level for that quantity of marijuana was 18 under U.S.S.G.

     201 .1(c)(3). The PSR also determined that two-levels should be

     added for "maintain[ing] a premises for ... distributing a con-

     trolled substance,''. und~r U.S.S.G. 201 .1 (b)(12); and three-levels

     should be subtracted for acceptance of responsibility, pursuant to

     U.S.S.G. 3E1 .1. Thus, Pharr's adjusted offense level as calculated

     by the PSR was 17. This offense level, coupled with a criminal his-

     tory category IV, produced an advisory guideline range of 97-106

     months.

           Defense counsel objected ·to the drug amount found in the

     PSR. Counsel argued that the plea agreement specifically stated

     that only 7.7 kilograms of marijuana was attributable to ·Pharr.

     This would produce a base offense level of 12 rather than 17. How-

     ever_, because Pharr's offense level would then be less thah 12, he

     could only receive a two-level reduction for acceptance of respon-

                                     _9.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 10 of 37




     sibility. With an adjusted offense level of 12 and a criminal his-

     tory category IV,_ Pharr's advisory guideline range would be 21-27

     months.

            At the sentencing hearing, the Court found that Pharr was

     responsible for 7.7 kilograms (18 pounds) of marijuana and that

     both the two-level enhancement for maintaining a drug premise

     and the two-level reduction for acceptance of responsibility

     applied. The Court then sentenced Pharr to 21 months' imprison-

     ment as to Count 1. After finding that Pharr had possessed a fire-

     arm in furtherance of a drug trafficking offense, the Court sen-

     tenced Pharr to 60 months of imprisonment as to Count 2, to run

     consecutively to Count 1; to be followed by _5 years of supervised

     release.

            Pharr contends that defense counsel provided ineffect1ve

     assistance of counsel during the sentencing phase of the criminal

     proceeding in two distinct ways: (1) counsel failed to seek a

      minor role adjustment for Pharr and (2) counsel failed to seek a

      reduced sentence due to the COVID-19 pandemic.

            1. Minor Role Adjustment

            Section 381.2 of the Sentencing Guidelines provides a

      decrease to a defendant's base offense level by up to four levels

      "[i]f the defendant was a minimal participant in any criminal

      activity, "two levels "[i]f the defendant was a minor participant

      in any criminal activity," and three levels if the defendant's level

                                      10.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 11 of 37




       of participation fell between minimal and minor. See U.S.S.G.

       381.2. The comnientary to section 381.2 provides that a miti-

       gating role adjustment is available to any defendant "who plays a

       part in committing the offense that makes him substantially less

       culpable than the average participant." U.S.S.G. 381.2 cmt.

       n.3(A). Though the defendant bears the burden of proving that he

       or she is entitled to a downward adjustment based on his or her

       role in the offense.

             The Sentencing Guidelines provide for a two.,.level decrease

       to a base offense level if a defendant was a minor participant in

       the criminal activity. U.S.S.G. 381 .2(b). A minor participant is

       one "who is less culpable than most other participants in the

       criminai activity, but whose role could not be described as mini-

       mal." Id. cmt. n.5.
                                  '
              Prior to Amendment .794, a circuit split developed concern-

       ing the.proper interpretation of "the average participant" in the

       context of the minor role adjustment. See e.g. U.S.S.G. App. C,

       Amend. 794. The First and Second Circuits allowed defendants to

       compare their culpability to that of their co-participants and to
                              '
       other persons participating in similar crimes (typical hypothetical

       offenders). The Eleyenth Circuit, however, determined that the

       appropriate comparison was between the defendant and other

       participants in the same criminal scheme. See e.g. United States

       -v. Da Varon, 175 F.3d 930 (11th Cir. 1990). In Da Varon, the

                                          11.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 12 of 37




      Eleventh Circuit held that when considering a request for a minor

      role reduction, sentencing courts are to consider: "first, the de-

      fendant's role in the relevant conduct for which he has been held

      accountable at sentencing, and second, his role as compared to

      that of other participants in his relevant conduct." Id. at 940.

             Amendment 794 resolved the circuit split in favor of the

      view espoused by the Eleventh 9ircuit. The amendment also

      enumerated a "non-exhaustive list of factors," United States v.,

     , Cruickshank, 837 F.3d 1182, 1193 (11th Cir. 2016), for courts to

      consider when deciding whether to grant a minor role adjustment.

      Specifically, Application Note 3(C) to U.S.S.G. 381 .2, provides:·

             In determining whether to apply subsection (a) or (b), or

      an intermediate adjustment, the court should consider the ·

      following non-exhaustive list of factors.

             (i) the degree to which the defendant understood' the scope

      and structure of the criminal activity;
                                                '
             (ii) the degree to which the defendant participated in

      planning or organizing the criminal activity;

             _(iii) the degree to which the defendant exercised decision-

      making authority or influenced.the exercise of decision-making

      .authority;

             (iv) the nature and extent of the defendant's participation

      in the commission of the criminal activity, inqluding the acts the

      defendant performed and the responsibility and discretion the

                                       12.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 13 of 37




       defendant had in performing those acts;

              (v) the degree to which the defendant stood to benefit

       from the criminal activity.

              For example, a defendant who does not have a proprietary

       interest in the criminal activity and Who is simply being paid to

       perform certain tasks should be considered for an adjustment
         f

   ,   under this guideline.

              The fact that a defendant performs an esser:itial or indis-

       pensable role in the criminal activity is not determinative. Such a

       c;Jefendant may receive an adjustment under this guideline if he

       or she is substantially less culpable than the average participant

       in the criminal activity.

       U.S.S.G. Supp. App. C, Amend. 794 (November·1, 2015).

              Applying the above factors to the instant case, Pharr was

       entitled to a minor role reduction because his task was to merely

       guard the stash house when a drug shipment arrived and to return

       to California once the supply had been delivered to local drug

       runners, though even that theory was never proved in court.

              The criminal scheme -- con_spiracy, actually -- involved

       tens of millions. of dollars and a host of players, though only Pharr

       was prosecuted and given nearly seven years in prison.

              It all started in sunny California where the use of marijuana

       is legal, at least on the state level. In horthern California, ·mari-

       juana plants were grown, cultivated to perfection, harvested, and

                                           13.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 14 of 37




   packaged for transport to other states. In another part of the state

   a company called Cali Plug legally manufactured vape pens and

   "gummie'' products infused with cannabis and cannabis ciil. Both

   the marijuana and Cali Plug products were packed into a tractor

   trailer and driven across the country to various states. The truck

   would deliver it products and then pick up cash for the return trip

   to California. It was this latter portion of the operation that began

   the investigation that eventually ensnared Pharr.

         As was well documented in the court's record, law enforce-
                               '
   ment officials had been investigating in another state a person

   suspected of drug dealing when a truck from California arrived to

   deliver one oflts load. Investigators followed the truck to Atlanta,

   Georgia. In Atlanta, the truck was met by Rama Moore, who

   delivered nearly $4 million in cash. The agents with the Drug

   Enforcement Agency (DEA) took surveillance ph_otographs of Moore

   making the delivery. As the truck made its return trip to California,

   it was stopped and searched, whereupon the $4 million in cash was

   discovered. At the same time, DEA agents ran the license plate

   number of the vehicle that Moore had driven to the drop-off. It was

   learned that it was a rental car rented by an individual named

   Hessian Robinson. The DEA expanded its investigation once more.

   Using the address listed on the car rental agreement, DEA agents

    began surveiling Robinson's home. On an almost daily basis Robinson

   left his home and made frequent stops at an apartment. A later

                                     14.·
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 15 of 37




     investigation confirmed that the apartment had been rented by yet

     another individual in the criminal scheme. According to the landlord,

     Robinson was usua_lly the person who paid the rent on the apartment.

     The surveillance of Robinson and the apartment lasted for four

     months. Tellingly, according to the DEA, its agents never saw Pharr

     at the apartment until the day of his arrest on August 13, 2019.

     Unfortunately for Pharr, on that particular day Rania Moore showed

     up. The DEA agents were well aware of Moore, having witnessed him

     deliver nearly $4 million to the truck driver four mont_hs early, in May

     2019. So it was little wonder that the DEA agents decided to follow

     Moore and Pharr from the apartment after seeing them place a book

     bag and suitcase into the back of the truck at the apartment. The

     DEA agents suspected that the bags contained millions of dollars

     from the sale of illegal drugs. After following the pair for awhile,

     the DEA agents had local law enforcement officers effect a traffic

     stop. Moore had been driving the vehicle that day while Pharr was

     a passenger. A subsequent s·earch of the vehicle yielded 8 THC

     gummies in the center console. Both Moore and Pharr were arrested

     that day. Finally, a later search of the apartment yielded cell phones,

     fully and empty gummy containers, THC vape cartridges, and vacu-

     um sealed bags containing 18 (7.7 kilograms) pounds of marijuana

     in one room, and separately, several firearms in another room
                                   .                            .  that

     contained documents that belonged to Pharr.

                                       15.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 16 of 37




          As the above narrativ~ de.monstrates, Pharr was "less culp-

   able than most other participants in the criminal activity." U.S.S.G.

   3B 1.2(b ), cmt. _n.5.

          Following the dictates of Da Varon, the Court first reviews

   "the defendant's role in the relevant conduct for which· he has been

   held accountable at sentencing." Da Varon, 175 F.3d at 940. In this

   case, the Court found that: (1) Pharr was accountable for 7.7 kilo-

   grams (18 pounds) of marijuana, (2) he maintained a premise for

   distributing a controlled substance, and (3) he possessed a firearm

   in furtherance of a drug trafficking offense. Second, the Court then

   reviews the defendant's ro_le "as compared to that of other partici-

   pants in his relevant conduct." Id. Importantly, whether the other

   participants were charged is not relevant.

          "[A] court must measure the defendant's role against the

   relevant conduct for which the defendant is held accountable at

   sentencing, whether or not other defendants are charged." U.S.S.G.

   App. C, Amend. 635, Reasons for Amendment (emphasis added).

          There were numerous participants in this criminal scheme

   who ran the gamut from minimal participant to full-fledged leader-

   ship. Though as this Court may well remember, none of these other

   participants were 'ever charged. In comparing the roles in this

   criminal scheme, there was one minimal participant. That was the

   individual who rented the apartment so that Robinson could use it

   as a stash house. Had the Government charged this person, he too

                                    - 16.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 17 of 37




    would have faced charges of possession with intent to distribute

    marijuana and possession of a firearm in furtherance of a drug

    trafficking offense. This would be true because it was his name that

    was found on the lease agreement, which means that he was respon-

    sible fo-r everything found in that apartment (this fact would be even

    more damaging if he had rented other apartments for Robinson's

    -use). And of course, if he were found guilty and sentenced, he would

    have been subjected to the enhancement for maintaining a premise

    for distributing a controlled substance. Moving up the chain, there

    was the truck driver who hauled tons of marijuana, worth millions of

    dollars, across the country, violating an untold number of federal and

    state laws in the process. For example, he violated 21 U.S.C. 849 by

    possessing drugs at a protected location (truck stop) and traveling

    on an Interstate highway. See also U.S.S.G. 2D1 .2'. Then after

    delivering his illegal products, he transported millions of dollars in

    cash from the sale of illegal drugs back across the country to Cali-

    fornia. This is not a hypothetical. The DEA actually seized $3.9

   . million in cash from the tractor tr~iler in May 2019. A pound of·

    marijuana sold for $2,100 in Atlanta; thus, the $3.9 million seized

    represented approximately 1,857 pounds (794 kilograms)_of mari-

    juana. This meant that the truck driver could have been charged

    with conspiracy to possess with intent to deliver more than 1000

    kilograms of marijuana (for the marijuana he delivered and the cash

    he piGked up), a 10-year mandatory minimum sentence under 21

                                      17.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 18 of 37




     U.S._C. 841(b)(1)(A).

           "In estimating the quantity of drugs, a district court may con-

     vert cash into drug quantities based upon a determination that the

     cash represented drug transaction proceeds." United States v. Perez,

     785 F. App'x 207, 208 (5th Cir. 2019)(citing United States v.

     Johnston, 127 F.3d 380 (5th Cir. ·1997)). See also U.S.S.G. 201.1

     cmt. n.5. He could also have been charged with money laundering

     pursuant to 18 U.S.C. 1956(a)(1) and use of a communiGation facility

     to conduct illegal activity (to set up rendezvous times and locations),

     in violation of 21 U.S.C. 843(b). Hessian Robinson: whom the DEA

     surveiled for four months and who visited the apartment on an

     almost daily basis during those four months, paid the monthly rent

     on the apartment, according to the landlord. This was a violation of

     21 U.S.C. 856 (Maintaining a drug-involved premise). He also rented

     the Dodge Caravan that Rama Moore used to transport fhe $3.9

     million to the truck driver. Robinson could have been charged with

     not only conspiracy to possess with intent to distribute marijuana

     under 21 U.S.C. 846 and possession of a firearm in furtherance of

     a drug trafficking offense pursuant to 18 U.S.C. 924(c) based on

     the evidence recovered from the apartment, he could have been

     charged with money laundering (for example, a receipt for his bank

     account was recovered from the truck). As to Rama Moore, he

     ·seemed to have many of his fingers in the pie - though remarkably,

     after his arrest by state law enforcement officials, all charges were

                                      18.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 19 of 37




      dropped against him. As noted above, Moore delivered nearly

      $4 rriillioh to the truck driver. While doing so, he drove _to the

      rendezvous location in a vehicle rented by Robinson, who paid the

     .monthly rent on the stash house. When arrested, Moore claimed

     the $65,000 found in a suitcase during the traffic stop. It was
               )




      not difficult t? connect the dots in this case. And despite the fact

     that the Government elected not to prosecute these individuals,

      they were all "participants" in the criminal scheme.

             "A 'participant' is a person who is criminally responsible for

      the commission of the offense, but need not have been con-

      victed." U.S.S.G. 3B1.1 crilt. n.1.

             Unlike Pharr, each of the other par:ticipants (except per-

      haps the individual who rented the apartment) had to know the

      scope and structure of the criminal activity. The leader(s) would

      not have entrusted $3.9 million to another's care without absolute

      trust in that person-(truck driver, Robinson, and Moore). Crit-

      ically, the Court never found that Pharr participat~d in the plan-

      ning of the criminal scheme or that he exercised any decision-

      making authority. The only theory put forward with regards to

      Pharr's role in the scheme was that he guarded the stash house,
                                                                  '
      and that belief was founded on the fact that the firearms were

      found in a separate room in the apartment where apparently

      Pharr slept when he visited Atlanta (though the firearms bore

      neither his fingerprints nor DNA). Pharr would have simply been

                                     19.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 20 of 37




    paid a fee for this service and did not have any proprietary

    interest in the criminal activity. Indeed, it is teiling that when he

    was arrested Pharr was not armed; meaning that he was not provid-

    ing protection for Moore or the $65,000 in cash that Moore had in ·

    his suitcase.

          All this demonstrates that Pharr was significantly less culp-

    able than the other participants in the criminal scheme. Thus, under

    section 381 .2, he would have been eligible for a two-level minor role

   . reduction. It was, therefore, an error for defense counsel not to

    seek a minor role adjustment -- as he would have had little to lose

    by doing so, but much to gain had he done so.

           ludex Decidere Debet -- as the.Latin phrase commands,
                    '                      .                      .
    defense counsel should have let the judge decide as to whether to

    grant the adjustment rather than defense counsel denying Pharr

    that opportunity. See Gordon v. United States, 518 F.3d 1291, 1301

    (11th Cir. 2008)(no competent counsel would have taken the action

    that his counsel did take"). See also Brownlee'!· Haley, 306 F.3d

    1043 (11th Cir. 2002)(finding that counsel performed deficiently
              .                                .

    when counsel failed to present mitigating circumstances to the

    jury duri1Jg the sentencing phase of the criminal proceeding).

           Counsel's deficient performance prejudiced Pharr by subject-

    ing him to a harsher sentence. Had defense counsel sought and the

    Court granted a two-level minor role reduction, Pharr's adjusted

    offense level would have become 10. When combined with his

                                         20.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 21 of 37




    criminal history category VI, his advisory guideline range would

    have been 15-21 months. Thus, his guideline range wol.ild have

    been six months less. This is enough to demC>nstrate prejudice.

          In Glover v. United States, the defendant was convicted of

    racketeering, money laundering, and tax evasion. The U.S. Prob-

    ation_ Office prepared a PSR and recommended that the defend-

    ant that the three charges be grouped together under U.S.S.G.

    301.2, which allows for the grouping of counts involving the same

    harm. The Government objected to the grouping and when the

    defense attorney failed to argue the point, the Court agreed with

    the Government's position and separated the offenses of convict-

    ion. The defendant's adjusted offense level was thus increased by

    two levels, resulting in an increased sentence of between 6 and 21

    months. After his conviction became final, the defendant filed a

    motion to correct, set aside or vacate sentence pursuant to 28

    U.S.C. 2255, arguing that defense counsel provided ineffective

    assistance of counsel by failing to purst.,1e the grouping issue. The

    district court, however, denied the motion after finding that the

    6 to 21 month sentence increase was not significant enough to
                                                                      I




    meet the prej1;1dice prong of the Strickland test. The Seventh

    Circuit affirmed the lower court's decision. On certiorari, the

    Supreme Court reversed the decision. In doing so, it declared

    that "[a]ny additional jail time has Sixth Amendment signific-

    ance." Id. at203.

                                     21.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 22 of 37




           Based on the Supreme Court's holding in Glover, Pharr has

     demonstrated that defense counsel's deficient performance, pre-

    judiced his case by subjecting him to a harsher sentence. Spriggs

     V. Collins, 993 F.2d 85, 88 (5th Cir. 1993)(holding "that if an

     increased prison term did flow. from an error [of counsel] the

     petitioner has established Strickland prejudice"). Thus, Pharr

     is entitled to finding by ~his Court that defense counsel provided

     ineffective assistance of counsel, in violation of the Sixth Arnend-

     ment to the United States Constitution.

           2. Coronavirus Pandemic

           Pharr's detention for months in the county jail and federal

     prison in Atlanta during the ongoing COVID~19 pandemic was an

     extraordinary situation warranting defense counsel to seek a

     reduced sentence for Pharr. At the time of Pharr's sentencing on

     May 5, 2020, the effects of the virus on the BOP, state prisons,

     and other correctional facilities was well know. Thousands of

     inmates had contracted 'the virus around the country and

     hundreds had died from the deadly coronavirus; resulting in lock-

     dbwns, reduced educational programming, and lack of work               /

     opportunities. Indeed, as the Court noted at Pharr's sentencing

     hearing:

           Just a preliminary matter, in accordance with
           the CARES Act H.R.·748 and General Order 20-04
           of this court entered by the chief judge on March
           30 of 2020, the use of video teleconference
           during the COVID,.,19 emergency is authorized for

                                    22.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 23 of 37




             any sentencing hearing if the district court in a
             particular case finds for specific reasons that the
             sentencing cannot be further delayed without
             serious harm to the interests of justice and,
             second, the defendant consents to participate
             in the sentencing by video teleconference after
             consultation with counsel.

      Sentencing Transcripts (May 5, 2020), at 2-3.

             As the above denotes, the district court had taken the

      extraordinary step of conducting sentencing hearing via Zocim

      teleconferencing due to the COVID-19 pandemic and, it had done

      so more than a month prior to Pharr's sentencing. This put

      defense counsel on notice, or should have put him on notice,

      that the situation was extraordinary. He was further put on

      notice when Pharr was transferred from the country jail to

       U.S.P. Atlanta and that Pharr's life was at risk. As Pharr's

      attorney, Mr. Larry Wolfe, noted at the sentencing hearing:

             "My client was transferred from Lovejoy after entering

      his plea, and has been at the federal penitentiary, out on

       Boulevard. He's on 24-hour lockdown there, and there is COVID

       HIV -- not HIV -- coronavirus out at the prison.'' Sentencing

       Transcripts (May 5, 2020), at 3.

             A district court generally considers the sentencing factors

       listed in 18 U.S.C. 3553(a) when determining an appropriate,

       sentence for a particular defendant. As is relevant here, -section

       3553(a)(2){D) directs a sentencing court to consider the need "to

       provide the defendant with needed educational or vocational

                                          23.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 24 of 37




    training, medical care, or other correctional treatment in ttie

    most effective manner." 18 U.S.C. 3553(a)(2)(D).

           Hypertension and obesity together have long been held to

    present "a serious physical or medical condition ... that substant-

    ially diminishes the ability of the defendant to provide self-care

    within the environment of a correctional facility." See, for

    example, United States v. Johnson, 464 F.Supp.3d 22, .38 (D.D.C.

    May 16, 2020)(finding that defendant's hypertension and obesity

    "[are] sufficient to 'diminish □' Johnson's ability 'to provided self-

    care within the environment of a correctional facility' for purposes

    of the Sentencin.g Commission's policy statement").

           It should be noted here, however, that Pharr present claim
               .                      .                      .
    is vastly different. from
                          .
                              those individuals. who have sought com-
                                                                  .


    passionate release pursuant \o 18 U.S.C. 3582( c)(1 )(A), wherein

    they have allege'd "extraordinary and compelling circumstances."

   ,While some courts have r_educed sen_tences for individuals who

    exhibited the above medical conditions during the pandemic, other

    courts have declined to grant relief. Compare, United States v.

    McIntosh, 2020 U.S. Dist. Lexis 206321 (S.D. Fla. July 6, 2020)

    (granting compassionate release to a defendant who suffered from

    obesity, hypertension, high cholesterol, and diabetes) with United

    States v. Lockley, Case No. 1:1.7-cr-00127-MHC-JKL, Doc. No. 190

    (N.D. Ga. Oct. 5, 2020)(finding no extraordinary and compelling .

    reason for a26-year-old African American man who presented with

                                          24.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 25 of 37




      obesity and hypertension). In the instant case, Pharr had not yet

      been sentenced, so his requested relief would have come from
                                                                 I




      either seeking a variance under sec\ion 3553(a)(2)(D) or a down-

      ward departure pursuant to U.S.S.G.. 5H1 .4.

            "[l]n some situations, a district court may impose a non-

      prison sentence when ·a defendant has serious medical needs.

      Section .3553(a)(5) directs the district court to consider the policies

      of the Sentencing Commission [such as section 5H1 .4] when deter-

      mining a sentence, and [] 3553(a)(2)(D) explicitly states that the

      effective provision of necessary medical care is an appropriate

      factor for the district court's consideration in sentencing." United

      States   v. Wadena, 470 F.3d 735, 739 (8th Cir. 2006).
               Pharr's medical records indicated that he suffered from

      hypertension (also known as high blood pressure), heart murmur,

      and obesity. His medical records show that Pharr was 73 inches in

      height and weighed 350 pounds, giving him a body mass index (BMI)

      greater than 55. See "Healthy Weight: Adult BMI Calculator,"

      https://www.cdc.gov/healthyweight/assessing/bmi/adult_bmi/

      english-'bmi_calculator/bmi_calculator.html (last accessed Ju'ne 17,

     · 2020). The Centers for Disease Control and Prevention (CDC)

      specified that an individual with "severe obesity, that is _those,
                                          \




      with a body mass index {'BMI') of at-least 40, are at a higher risk

      for severe illness due to COVID-19." McIntosh, 2020 U.S. Dist.

      Lexis 206321, at *5. Further, the CDC has specifically stated that

                                        25.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 26 of 37




      hypertension is "associated with increased illness severity and

      adverse outcomes" in COVID-19 patients. See Interim Clinical
                                    I

      Guidance for- Management of Patients with Confirmed Corona-

      virus Disease (COVID-19, Ctrs. for Disease Control & Prevention

      (Apr. 3, 2020)).

            "Nearly half of adults [ih the U.S.] live with high blood

      pressure, also called hypertension. It's defined as a blood

      pressure
            )
               reading of 130/80 mm Hg or higher, or by taking med-

      ication for the condition. High blood pressure increases your risk

      of having a heart attack or stroke ... Symptoms usually appear

      only after damage to your heart and blood vessels." NIH News in

      Health, National Institutes of Health (Nov. 2020), at 4 (found at

      https://www.newsinhealth.nih.gov/2020/11 )(last accessed on

      June 20, 2021 ).

            Yet, Pharr's situation was far more serious than when the

      average defendant appears in court for sentencing. He would be

      dealing with the above cited serious medical conditions in a prison

      setting during a time of the COVID-19 pandemic. Courts have re-

      cognized that harsh conditions of confinement are     a valid factor
      supporting a shorter custodial sentence. United States v. Spano,

      476 F.3d 476, 479 (7th Cir. 2007)(endorsing the proposition ''that

      the harsher the conditions the shorter the sentence should be").

             Given Pharr's medical conditions and the ongOing pandemic,

      it was an error for defense counsel not to seek either a variance

                                         26.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 27 of 37




    under section 3553(a)(2)(D) or _a downward departure pursuant to

    U.S.S.G. 5H1 .4.

          Defense counsel's deficient performance (as outlined above)

    denied the Court the opport~nity to make an accurate assessment

    of Pharr and his circumstances, which ultimately resulted in Pharr

    receiving   aharsher sentence.
          As previously noted, Pharr was convicte_d of possession of

    a firearm in furtherance of a drug trafficking offense, in violation

    of 18 U.S.C. 924(c)(1 )(A). That statute required ttle Court to

    sentence Pharr to a 5-year mandatory minimum sentence. But that        r


    was the floor, the amount of time that the Court could not go below.

    Yet as already discussed, Pharr was sentenced to a term of 81

    months of imprisonment. The Court, however, did not have to

    sentence Pharr to a term of21 months as to Count 1. The Court

    could have sentenced him to as little as one day on Count 1. This

    was permissible under Supreme Court precedent.

           In Dean v. United States, 137 S.Ct. 1170, 197 L.Ed.2d 490

    (2017), the defendant and his brother committed t~o robberies

    of drug dealers. During the robberies, a firearm was used. The

    defendant was convicted of multiple robbery and firearm counts,
                                '
    as well as two counts of possessing a firearm in furtherance of a

    crime of violence, in violation of 18 U.S.C. 924(c). The two 924(c)

    violations alo(le carried a 30-year mandatory minimum sentence.

    During his sentencing hearing, the defendant asked the district

                                    .. 27.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 28 of 37




    court to take into consideration that he faced a 30-year man-

    datory minimum sentence for the 924(c) violations and asked

    the district court to impose a one-day sentence for the other

    counts. Though the judge said that he was inclined to sentence

    the defendant to the one-day sentence, the judge felt that the law

    did not permit such a sentence and thus, sentenced the defendant

    to a guideline sentence on the other counts. The defendant appeal-

    ed the district court's ruling. The Court of Appeals, however, ruled

    that the defendant's argument was foreclosed by Circuit precedent

    and that the defendant's sentence was otherwise reasonable. On

    certiorari, the Supreme Court reversed. 'It found that a number of

    statutes, including 18 U.S.C. 3553(a) counseled that a district

    court should take into consideration the totality of the sentencing

    package when determining an appropriate sentence, for each count.

    As the Court noted "[a]s a general matter, these sentencing pro-

    visions permit a court imposing a sentence on one count of con-

    viction to consider sentences imposed on other counts." Id. at

    1173.

            Based-on the Supreme Court's holding in Dean, Pharr could

    have been given a sentence of 5 years and one day, if not for the

    deficient performance of Pharr's defense counsel.

            Having shown that defense counsel's performance was

    deficient and that but for counsel's deficient performance, his

    sentence would have been_ less harsh, Pharr is entitled to a find-

                                    28.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 29 of 37




  ing by this Court that defense counsel did not provided the assist-

  ance of counsel required by the Sixth Amendment to the United

  States Constitution.



                           CONCLUSION

        For the foregoing reasons, Pharr respectfully asks that this

  Honorable Court find that defense counsel provided ineffective

  assistance of counsel during the-sentencing phase of his criminal

  proceeding and remand his case for resentencing.

                                Respectfully submitted,




  Vincent Pharr
  Reg. No. 7260.2-019
  Federal Correctional Institution
  P.O. Box 800
  Herlong, CA 96113




                                     29.
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 30 of 37




                          CERTIFICATE OF SERVICE

             I, Vincent Pharr, hereby certify that a true and accurate

       copy of the foregoing Motion to Vacate Sentence has been sent

       on this day, through the U.S. Mail, postage prepaid, to:

             Calvin A. Leipold, Ill, AUSA
             United States Attorney's Office
             Suite 600, Richard Russell Bldg.
             75 Ted Turner Dr., S.W.
             Atlanta, GA 30303



             Executed on this
                                  . 1r1-110 1
                                 J!/_              v
                                      day of __,~=---'->_,I------' 2021,

       at Herlong, California.




       vf'ncent Pharr
       Federal Correctiomil Institution
       P.O. Box 800
       Herlong, CA 96113
           Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 31 of 37




                                     MOTION BY A PERSON IN FEDERAL cusrooy
          TO VACATE, SET ASIDE, OR CORRECT SENTENCE UNDER 28 U.-S.C. § 2255 .
                                                                          ...                                         . .


    UNITED STATES DISTRICT
                  .
                           COURT
                             ..··__,;;.                      .. .
                                                                                  ,I   Division      Atlanta
                                                                                                     . .                    .
                                                                                                                                ..
                                                                                                                                .
                    .     '


           Vincent Pharr                                                          72602-019                    1:19-cr-00346-MHC
                                                         . .. .... ·•··                                                              . ..   ....
                                                                                                                                              ..
      :                                                                                                                                            ....


                                                                                                           .
           FCI Herlong, P.O. .Box 800, Herlong, CA 96113
                                .... .    ..       . .


                                               I



          VINCENT PHARR                                             V.                        UNITED STATES OF AMERICA
                                                                                                                     ..
                                                                                                                                ..
                        ....                                                                                     .




                                                                                MOTION

1. Name and location of court which entered the judgment of conviction under attack: - - - ~ - - - - -
United States District Court for the Northern District of Georgia

                                                                                20 20
2. !)ate of judgment of conviction: :--_M_a_y~s_,~ ~ ..c..---=------~~------...,..-

3. · Length of sentence: __8_1_M_o_n_th_s_ _~ - - - - ~ - ~ ~ ~ - - - - - - - -

4. Nature of-offense involved (all counts):·------~_,;_--------~--...:~

Possession with intent to distribute a controlled substance
Possession of a firearm in furtherance of a drug trafficking offense




5. Wharwas your plea? (Check one)
   (a) Not Gui.lty
   (b) Guilty *
   (c} Nola contendere
If you entered a guilty plea to one count or indictment, ahd not a guilty plea to another count or indictment,·
give details: --=------....__~---'-'~~---------,.-,.~'----~-------




6. If you pleaded not guilty, what kind of trial did you. have? (Check one)
   (a) Jury
   (b) Judge only

7. Did you testify at the trial?                         Yes                      No·     *
               Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 32 of 37




8. Did you appeal from the judgment of conviction to the Court of Appeal?
        Yes           · No*

g_ If you did appeal, answer tbe following: ·

  (a) Result: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -

  (b) Date of result and mandate: - - - - - - - - - - - ' - - - - - - - - - - . : . - . - - - - - -

1 o. Did you file a petition fof rehearing?
         Yes               No"

11. If you did file a petition for rehearing, -provide the date and result of the petition: _ _ _ _ _ _ __


                                                  (
12 .. Did you file a petition for certiorari review?
         Yes                 No,,_

13. If you· did file a petition for certiorari review, provide the date and result of the petition: _ _ _ __




14. Have you previously filed any post-conviction pet_itions, application~ or motions, including previous
    § 2255 motions, with respect to this judgment in any federal court?
         Yes                 No ..
15. If your answer to 14 was "yes," give the following information:

   (a)   (1) .Name of c o u r t : , - - - - - - - - - - , - - - - - - - - - - - - - - - - - -
    .(2) Nature of proceeding: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




     (3) G,ounds raised: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _---_-_·-_·__




     (4} Did you receive an evidentiary hearing on your petition, application or motion?
         Yes             No

     (5) Result: - - - - - - - - - - - - - - - - - - - - - - ' - - - - - - - - -
      (6) Date   of result   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                         2
              Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 33 of 37




     (b) If you filed more than one such petition. please include the same information requested in 11 (a)
         on a separate sheet of paper.                  ·
     (c) Did you appeal, to an appellate federal court having jurisdiction, the result of action taken ·
         on your petition, application or motion?      ·
         (1) 'First petition, etc.             Yes          No
         (2) Second petitioh, etc.             Yes          No

     (d) If you did not appeal from the adverse action of any petition, application or motion, explain briefly

         why you did·not: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




16. State concisely every ground on which you claim that you are being held in violation of the
constitution, laws or treaties of the United States. Summarize briefly the facts supporting each ground. If
necessary, you may attach pages stating additional grounds and facts supporting the same.

Caution: If you fail to set forth all grounds in this motion, you may be barred from presenting additional
grounds at a later date.

A.   Ground one:       Ineffective Assistance of Counsel



     Supporting FACTS (state brief/ywithout citing cases or law): _ _ _ _ _ _ _ _ _ _ _ _ _ __




     Defense counsel provided ineffective assistance of counsel during
     the sentencing phase of criminal proceeding (please see attached
     Memorandum in Support of Motion to Vacate Sentence)




B.   Ground two: ---,,.--N_-_ot_A_P_P_l_ic_a_bl_e_ _ __ _ , " - - - - - - - - - - - - - - - - - - - - -



     Supporting FACTS (state briefly without citing cases or law): _ _ _ _ _ _ __:__ _ _ _ __




                                                           3
            Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 34 of 37




                        Not Applicable
C.   Ground t~ree: - - - - - - - - - - - - - - - - - - - - ' - - - - - - - - - - - - -



     Supporting FACTS (state briefly without citing cases or law): _ _ _ _ _ _ _ _ _ _ _ _ _ __




D.   Ground four: ___N_o_t_A_p_p_li_ca_b_le_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



     Supporting FACTS (state briefly without ~iting cases or law): _ _ _ _ _ _ _ _ _ _ _ _ __




17. As to the grounds listed in 16A, B, C, and D, explain whether any grounds were previously presented,

and for those that were not previously presented, state briefly your reasons .for not presenting them: _ _



Claims of ineffective ass.istance of counsel are not cognizable on direct review.
Se.e Massaro v. United States, 538 U.S. 500 (2003).


18. Do you have any petition or appeal now pending. in any court as tq the judgment under attack?
     Yes       No*
19. Do yqu have any future sentence to serve after you complete the sentence imposed by the judgment
under attack?
     Yes      No~
     (a) If so, give name and location of court which imposed sentence to be served in the future: _ __




                                                       4
            Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 35 of 37




      (b) Give date and length of'the above sentence: _ _ _ _ _ _ _ _ _ _ ___,___ _ _ _ _ __

      (c) Have you filed, or do you.contemplate·filing, any petition attacking the judgment which imposed
      the s.entence to be served in the future?
          Yes            No

20. What relief do you request from this Court? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Pharr asks this district court to vacate his sentence




    Wherefore, movant prays that the Court grant the relief to which he or she may be entitled in this
proceeding.




                                                               N/A
                                                      Signature of Attorney (if any)




      I declare under penalty or perjury that the foregoing is true and correct. Executed.on:




      ( ate)                                                   Signature of Movant/Defendant




                                            IF MAILED BY- PRISONER:

      I declare or state under penalty of perjury that this petition was (check one):
□   delivered to .prison officials for mailing, or .i<: deposited in the prison's internal mail system on:

    / / /L/ / ;) J
        I        1
                                 (date).




                                                               Signature of Movant/Defendant


Revised 07102



                                                           5
  Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 36 of 37




        Notice to the Inmate Population at FCI Herlong, California                      /




COVID-19 Status at FCI Herlong, California
On November 18, 2020, 3 inmates in the general population tested positive for COVID -
19. The entire institution was placed on quarantine. Since that day, inmates from
additional housing units have tested positive for COVID-19. Inmates reported minor
symptoms to staff, were assessed by Health Services and were test~d via rapid test
with additional PCR testing. Health SeNices staff have increased rapid and PCR
testing in all affected housing units. Additionally, serial testing has been condl'.lcted in
all housing units to determine if there are additional housing units affected.

All inmates with positive COVI D-19 results were and continue to be placed into isolation
in accordance with established CDC guidelines. Unit assignments for some inmates
are changing based on total isolation cases within each housing unit as results of either
positive or negative COVI D-19 results become available. Inmates are continuing to
recover from COVID-19. Inmates in recovered status will be used to supplement inmate
work details and inmate services as a move toward modified operations continue.
I encourage you to immediately report to staff any symptoms or illness so you may be
appropriately evaluated timely. In addition, please report any symptoms of Acute Loss
of Smell or Taste. This can be a common symptom of pre-CO VI D-19 illness and if you
are experiencing these symptoms you need to inform staff immediately so you can be
assessed by the Health Services staff.

The executive staff, Health Services and I are monitoring the status of FCI Herlong daily
and will continue to make adjustments to institution operations and inmate services as
needed to ensure a safe retu'rn to a normal modified operation.
Your Unit Team should have already .issued you 2 stamps to allow immediate
communication with your family. I anticipate expanding opportunities for communication
with your family as soon as safely possible. I appreciate your cooperation during this
difficult and unique situation. With continued cooperation and successful preventative
strategies i have confidence \Ne will continue on the right path.
Be safe and be well! .
Case 1:19-cr-00346-MHC-JSA Document 35 Filed 07/19/21 Page 37 of 37




                                        2 019
                               <---> 7260 -
                                              ~
                                            k Of Court
                                         Cler        . C urt
                                         U .S . District o DR SW
                                         7 r: TED Turner
                                           J       S Courthouse
                                         22 11 u '       0303
                                         Atlanta , GA 3
                                         United States
